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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

ANN M. ZWICK,

                              Plaintiff,
               -against-                                         COMPLAINT
                                                               AND JURY DEMAND

TOWN OF CHEEKTOWAGA,
CHRISTOPHER WIERZBOWSKI, individually and in his official
capacity as a police officer, and,
MARK CYREK,

                              Defendants.




                              DEMAND FOR TRIAL BY JURY

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff ANN M.

ZWICK, hereby demands a jury trial of all issues so triable.

                                      I. INTRODUCTION

       1.      This is an action seeking monetary damages, to redress illegal conduct by the

               defendants, who deprived the plaintiff of various rights and privileges secured by

               the Constitution and laws of the United States, specifically the Fourth and

               Fourteenth Amendments to the United States Constitution and the Civil Rights

               Act of 1871, 42 U.S.C. § 1983 as well as the common law of the State of New

               York.

                                       II. JURISDICTION

       2.      This action seeks to enforce rights guaranteed by the Constitution and laws of the

               United States and is brought pursuant to 42 US.C. § 1983. Jurisdiction is based

               upon 28 U.S.C. §§ 1331 (federal question), 1343 (civil rights), and 1367

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      (supplemental jurisdiction). The substantive federal claims are brought pursuant

      to 42 U.S.C. §1983. The Court has supplemental jurisdiction over state common

      law claims.

3.    Venue is proper in the Western District of New York, under 28 U.S.C. §1391(b),

      because all parties reside in this District and because all of the events or omissions

      giving rise to the claims occurred within this District.

                                 III. PARTIES

4.    Plaintiff ANN M. ZWICK is, and at all times hereinafter mentioned was, a

      resident of the Village of Depew, County of Erie and State of New York.

5.    The defendant TOWN OF CHEEKTOWAGA is a municipal corporation

      operating under the laws of the State of New York with offices in Cheektowaga,

      New York.

6.    CHRISTOPHER WIERZBOWSKI, was at all times herein employed by the

      TOWN OF CHEEKTOWAGA as a police officer.

7.    He resides in Erie County and is sued individually and in his official capacity as a

      police officer.

8.    MARK CYREK was a resident of the Town of Cheektowaga, County of Erie at

      all times herein.

9.    At all times herein, CHRISTOPHER WIERZBOWSKI was acting within the

      scope of his employment.

10.   At all times herein, CHRISTOPHER WIERZBOWSKI was acting under color of

      state law.




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         IV. FACTUAL ALLEGATIONS APPLICABLE TO ALL

                               CAUSES OF ACTION

11.   On or about June 24, 2016, MARK CYREK made a complaint to the

      Cheektowaga Police Department, alleging that the plaintiff was stalking him.

12.   Police officer CHRISTOPHER WIERZBOWSKI interviewed Mr. Cyrek and,

      with Mr. Cyrek’s support and at his request, he filed an information with the

      Town of Cheektowaga Court alleging that the plaintiff had committed the offense

      of stalking in the fourth degree in violation of Penal Law section120.45,

      subsection 3, a class B misdemeanor.

13.   That section requires that the information allege that the defendant contacted the

      complainant at his place of employment after being warned not to do so.

14.   The information in the present case failed to allege that the complainant was

      contacted at his place of business or that he warned her not to do so.

15.   The information therefore failed to establish probable cause that the plaintiff was

      guilty of the offense.

16.   MARK CYREK filed a supporting deposition which was attached to the

      information.

17.   MARK CYREK is a police officer in the City of Buffalo and was therefore fully

      aware that his supporting deposition on alleged personal knowledge was crucial to

      the filing of the charge.

18.   Mark Cyrek’s supporting deposition fails to allege that the plaintiff contacted him

      at his place of employment after being clearly warned not to do so.



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19.   The information, taken together with the supporting deposition, lacked probable

      cause to support the charge.

20.   CHRISTOPHER WIERZBOWSKI did not interview the plaintiff before filing the

      charge.

21.   Nevertheless, CHRISTOPER WIERZBOWSKI, filed the information and

      procured a warrant of arrest for the plaintiff.

22.   The plaintiff learned about the warrant and retained attorney James Ostrowski to

      represent her.

23.   Mr. Ostrowski wrote to Judge Paul Piotrowki in a letter hand-delivered on August

      1, 2016.

24.   The letter stated:

      “Dear Justice Piotrowski:

      “I have been retained by Ann Zwick in connection with the enclosed
      charge of stalking in the 4th degree, which she just became aware of.
      Apparently, the Court issued an arrest warrant but I have not seen that
      document.

      “Upon reviewing the complaint, it is obvious that the document does not
      allege a crime. Specifically, there is no allegation that the complainant
      was contacted at his place of business or that he warned her not to do so.

      “That being the case, the warrant should not have been issued and we are
      asking the Court to withdraw the warrant and dismiss the charge pursuant
      to CPL 120.20(1)(b). See also, CPL 120.20(2).

      “In the alternative, we ask that the Court withdraw the warrant and issue a
      summons that would avoid a humiliating and pointless arrest on such
      defective charges. CPL 120.20(3). I can further explain the basis for that
      request if necessary. Thank you.”

25.   The plaintiff appeared before Judge Piotrowski on August 2, 2016.




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26.   Judge Piotrowski granted an oral motion to dismiss the charge for the reasons

      outlined in the letter above.

27.   The order was on the merits and final as there was no effective means to amend

      the charge since plaintiff had not in fact contacted the complainant at his place of

      employment.

28.   Although the charge was dismissed and the case closed, court personnel, who, on

      information and belief, included employees of the Town of Cheektowaga, insisted

      that plaintiff be booked on the charge.

29.   Mr. Ostrowski objected, however, the plaintiff was detained in the courtroom for

      about thirty minutes before the issue could be resolved.

30.   The Cheektowaga Police Department did eventually withdraw their request for

      booking and only at that point, was the plaintiff free to leave.

31.   Therefore, there was a post-arraignment deprivation of liberty in violation of the

      Fourth Amendment.

32.   In addition to the defects noted above, the information and supporting deposition

      contained the following false or misleading statements:

33.   The information falsely states that plaintiff on numerous occasions threatened his

      job.

34.   The supporting deposition falsely states that plaintiff “has had numerous stay

      away orders in the past which all have expired.”

35.   The supporting deposition falsely stated that plaintiff was “violently and

      constantly jealous of” MARK CYREK.




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36.   The supporting deposition falsely stated that “physical violence increased in

      frequency or severity over the past six months.”

37.   The supporting deposition falsely stated that plaintiff drove down his street “for

      no legitimate purpose.”

38.   Said charges were therefore brought with malice and without probable cause.

39.   Annoyed that the first charge was dismissed at arraignment, a rare event in New

      York courts, the individual defendants, acting in concert, prepared a second

      information and supporting deposition that charged the plaintiff with stalking in

      the fourth degree in violation of Penal Law Section 120.45, subjection 2.

40.   That different subsection forbids causing “material harm to the mental or

      emotional health of such person, where such conduct consists of following,

      telephoning or initiating communication or contact with such person, a member of

      such person's immediate family or a third party with whom such person is

      acquainted, and the actor was previously clearly informed to cease that conduct.”

41.   The preface to the statute also required that the alleged behavior be intentional

      and “for no legitimate purpose,” and the defendant “knows or reasonably should

      know that such conduct” violated the statute.

42.   Acting in concert, the individual defendants prepared and filed new charges and

      procured a second arrest warrant against the plaintiff.

43.   Based on that warrant, the plaintiff was arrested at her place of employment and

      held overnight at the police lockup at the Town of Cheektowaga.

44.   Her detention was humiliating as she was depraved of certain articles of clothing

      and was subjected to cold temperatures all night.



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45.      The plaintiff was arraigned and released on her own recognizance.

46.      She was, however, forced to attend numerous court appearances and thus suffered

         a post-arraignment deprivation of liberty in violation of the Fourth Amendment.

47.      The plaintiff’s attorney filed a motion to dismiss the charge on December 23,

         2016.

48.      The motion made the following points:

      a. The information fails to adequately allege facts that constitute the element of

         intentionality.

      b. The information fails to allege facts that adequately allege the element of the lack

         of a legitimate purpose.

      c. The information fails to allege facts that constitute the element of actual harm to

         mental or emotional health.

      d. There is zero evidence presented as to the lack of a legitimate purpose.

      e. The parties are not strangers and if they were, a simple allegation to that effect

         would carry the day.

      f. The lack of any reference to how the parties knew each other shows the utter lack

         of credibility of the charge.

      g. On information and belief, one reason why the plaintiff contacted the complainant

         is that they had a long-term relationship and that the complainant was in

         possession of numerous items of the defendant's property that he refused to return.

      h. There is also zero evidence presented of any actual harm to the complainant.

      i. The statute has a very strong requirement of intent, which the Court of Appeals

         noted in upholding the constitutionality of the statute. There is here zero evidence



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      that the defendant intentionally engaged in a course of conduct that she knew

      would cause material harm to the complaint.

49.   On January 18, 2017, Judge Piotrowski dismissed the charge on the merits and

      with finality.

50.   The prosecutor made no effort to amend the charge or appeal the ruling.

51.   The time to appeal has expired.

52.   The second charge filed by the defendant was without probable cause, was

      inspired by malice, and was based in part on false or misleading statements.

53.   The plaintiff was not interviewed by the police before the second charge was

      filed.

               V. LEGAL CLAIMS PERTAINING TO THE

         INFORMATION FILED ON OR ABOUT JUNE 24, 2016


   FIRST CAUSE OF ACTION UNDER 42 U.S.C. § 1983 MALICIOUS
PROSECUTION IN VIOLATION OF THE RIGHT TO DUE PROCESS AND
 LIBERTY-FOURTH, FIFTH AND FOURTEENTH AMENDMENTS, U.S.
                      CONSTITUTION

54.   CHRSITOPHER WIERZBOWSKI maliciously prosecuted the plaintiff.

55.   He initiated and continued criminal proceedings against the plaintiff without

      probable cause, and with actual malice.

56.   The charges against plaintiff were dismissed on the merits and with finality.

57.   The Plaintiff suffered a post-arraignment deprivation of liberty.

58.   The defendant’s actions violated the Plaintiff' clearly established right to liberty

      and personal security as guaranteed by the Fourth and Fourteenth Amendments to

      the United States Constitution.



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 59.   The Defendant knew, or reasonably should have known, that his conduct violated

       the Plaintiff’ clearly established constitutional right to liberty and personal

       security.

 60.   The Defendant acted with intent to violate, or with deliberate or reckless

       indifference to, the Plaintiff clearly established Fourth and Fourteenth

       Amendment rights.

 61.   At all times relevant herein, the Defendant was acting under color of state law, or

       conspired with individuals acting under color of state law to deprive plaintiff of

       their constitutional rights. Adickes v. S.H Kress & Co., 398 U.S. 144, 150 (1970)

 62.   As a direct result of the Defendant’s conduct, the Plaintiff has suffered actual

       damages, attorneys' fees, and costs.

SECOND CAUSE OF ACTION UNDER STATE COMMON LAW-MALICIOUS
           PROSECUTION—AGAINST MARK CYREK

 63.   Acting in concert with CHRISTOPHER WIERZBOWSKI, the defendant caused

       false and malicious criminal charges to be initiated against the plaintiff.

 64.   The defendant initiated criminal proceedings against the plaintiff without

       probable cause, and with actual malice.

 65.   The charges against plaintiff were dismissed on the merits and with finality.

 66.   As a direct result of the Defendant’s conduct, the Plaintiff has suffered actual

       damages, attorneys' fees, and costs.




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                   VI. LEGAL CLAIMS PERTAINING TO THE

        INFORMATION FILED ON OR ABOUT AUGUST 4, 2016


   THIRD CAUSE OF ACTION UNDER 42 U.S.C. § 1983 MALICIOUS
PROSECUTION IN VIOLATION OF THE RIGHT TO DUE PROCESS AND
 LIBERTY-FOURTH, FIFTH AND FOURTEENTH AMENDMENTS, U.S.
                      CONSTITUTION

 67.   CHRSTOPHER WIERZBOWSKI maliciously prosecuted the plaintiff.

 68.   He initiated and continued criminal proceedings against the plaintiff without

       probable cause, and with actual malice.

 69.   The charges against plaintiff were dismissed on the merits and with finality.

 70.   The Plaintiff suffered a post-arraignment deprivation of liberty.

 71.   The defendant’s actions violated the Plaintiff' clearly established right to liberty

       and personal security as guaranteed by the Fourth and Fourteenth Amendments to

       the United States Constitution.

 72.   The Defendant knew, or reasonably should have known, that his conduct violated

       the Plaintiff’ clearly established constitutional right to liberty and personal

       security.

 73.   The Defendant acted with intent to violate, or with deliberate or reckless

       indifference to, the Plaintiff clearly established Fourth and Fourteenth

       Amendment rights.

 74.   At all times relevant herein, the Defendant was acting under color of state law, or

       conspired with individuals acting under color of state law to deprive plaintiff of

       their constitutional rights. Adickes v. S.H Kress & Co., 398 U.S. 144, 150 (1970)




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 75.   As a direct result of the Defendant’s conduct, the Plaintiff has suffered actual

       damages, attorneys' fees, and costs.

FOURTH CAUSE OF ACTION UNDER STATE COMMON LAW-MALICIOUS
          PROSECUTION—AGAINST ALL DEFENDANTS

 76.   The defendants, acting in concert, caused false and malicious criminal charges to

       be initiated against the plaintiff.

 77.   The defendants initiated criminal proceedings against the plaintiff without

       probable cause, and with actual malice.

 78.   The charges against plaintiff were dismissed on the merits and with finality.

 79.   As a direct result of the Defendants' conduct, the Plaintiff has suffered actual

       damages, attorneys' fees, and costs.

 80.   On April 17, 2017, the plaintiff filed a notice of claim against the TOWN OF

       CHEEKTOWAGA and CHRISTOPHER WIERZBOWSKI for common law

       malicious prosecution.

 81.   At least thirty days have elapsed since the service of such notice and adjustment

       or payment thereof has been neglected or refused.

 82.   This action has been commenced within one year and ninety days after the

       happening of the event upon which the claim is based.

                                  VII. DAMAGES

 83.   On account of the Defendants' actions and violations of their rights as set forth

       above, the Plaintiff suffered actual damages, including loss of liberty, pain,

       suffering, loss of employment opportunities, humiliation and emotional distress,

       and was forced to expend funds for attorneys' fees and related expenses.




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         84.   Plaintiff is entitled to recover damages, attorney's fees (in this action and for the

               criminal prosecution), costs, and punitive damages.

         85.   Plaintiff demands prejudgment interest on all elements of out-of-pocket loss

               including attorneys' fees.

                                  VII. PRAYER FOR RELIEF

WHEREFORE, the Plaintiff requests that this Court:

         1.    Assume jurisdiction of this action;

         2.    Enter judgment against the Defendants and in favor of the Plaintiff;

         3.    Award the Plaintiff compensatory damages of $250,000, including prejudgment

               interest on any out-of-pocket damages;

         4.    Impose punitive damages of $100,000 against each individual defendant;

         5.    Award Plaintiff all costs and disbursements incurred in the prosecution of this

               action, including reasonable attorneys' fees under 42 U.S.C. §1988; and

         6.    Enter such other and further relief as the Court deems just and proper.

Dated:         Buffalo, New York
               July 31, 2017                  /s/ James Ostrowski
                                              JAMES OSTROWSKI
                                              Attorney for Plaintiff
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